                IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF IOWA
                       EASTERN DUBUQUE DIVISION
________________________________________________________________________
                                    )
UNITED STATES OF AMERICA,           )
                                    )
            Plaintiff,              )     Case No. 22-1039-2
                                    )
vs.                                 )
                                    )
                                    )     UNRESISTED MOTION
CODI LYN DEMAIO,                    )     TO EXTEND DEFENDANT’S
                                    )     ACCEPTANCE OF
            Defendant.              )     RESPONSIBILITY HEARING
                                    )
________________________________________________________________________

       COMES NOW, the above captioned Defendant, by and through her undersigned

attorney and in support of this Motion to Extend Defendant’s Acceptance of

Responsibility Hearing, states as follows:

       1.      The deadline for a hearing on Defendant’s change of plea is July 3, 2023.

       2.      The Undersigned is informed that Judge Roberts is unavailable on July 3,

2023, but that he is available the morning of July 6, 2023.

       3.      The undersigned has spoken with AUSA Devra Hake and she does not

resist an extension in this matter.

       WHEREFORE, the Defendant respectfully requests an extension of time in which

to accept responsibility and enter her plea, and requests a plea hearing be set for the

morning of July 6, 2023.


                                              _/s/ Michael K. Lahammer_________
                                              Michael K. Lahammer
                                              ATT 4425
                                              425 2nd St. SE Suite 1010
                                              Cedar Rapids, Iowa 52401

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                                                      ATTORNEY FOR DEFENDANT
                                                      Email: mike@lahammerlaw.com
                    PROOF OF SERVICE
The undersigned certifies that the foregoing
instrument was filed via CM/ECF on this 28th day of
June, 2023, and all parties of record received
copies.

.s. Michael K. Lahammer__




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